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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

 DENNIS G. LOMAX,                                )
                                                 )
                        Plaintiff,               )
                                                 )
        v.                                       )
                                                 )
                                                         Case No. 3:19-cv-30025-KAR
 WIKIMEDIA FOUNDATION, INC.; and                 )
 JOHN DOES 1-9,                                  )
                                                 )
                        Defendants.              )
                                                 )
                                                 )

                     ASSENTED TO MOTION TO EXTEND TIME
                   FOR PLAINTIFF TO FILE AMENDED COMPLAINT

       Defendant Wikimedia Foundation, Inc. (“Wikimedia”), by its counsel, and pro se

Plaintiff Dennis G. Lomax agree and stipulate to a one-week extension of time within which

Plaintiff may file an amended complaint, up to and including, June 17, 2019. This motion will

facilitate a further investigation of the allegations of the complaint, and no other extensions or

continuances have been requested in this case.
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Dated: June 10, 2019                      Respectfully submitted,


                                          /s/ Christopher M. Morrison

                                          Christopher M. Morrison (BBO #651335)
                                          Erik N. Doughty (BBO #691487)
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                                          Foundation, Inc.




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          CERTIFICATION OF COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

        I, Christopher M. Morrison, hereby certify that, in compliance with Local Rule 7.1(a)(2),
I conferred with pro se Plaintiff regarding the filing of this motion and Plaintiff assents to the
relief sought by this motion.

                                                     /s/ Christopher M. Morrison
Dated: June 10, 2019                                 Christopher M. Morrison


                                 CERTIFICATE OF SERVICE

        I, Christopher M. Morrison, hereby certify that a true copy of the foregoing document
filed through the ECF system will be electronically sent to the registered participants as
identified on the Notice of Electronic Filing, and to Plaintiff via first class mail, postage prepaid.

                                                     /s/ Christopher M. Morrison
Dated: June 10, 2019                                 Christopher M. Morrison
